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                                                                          December 7, 2016


         Via ECF Only
         The Honorable Claire C. Cecchi, U.S.D.J.
         United States District Court for the District of New Jersey
         Martin Luther King Building & U.S. Courthouse
         50 Walnut Street, Courtroom 2B
         Newark, New Jersey 07101

                           Re:    Frisari, et al., v. Dish Network, LLC
                                  Civil Action No. 2:12-cv-5495 (CCC/JAD)

         Dear Judge Cecchi:

                 This firm represents Plaintiff Elizabeth Frisari, individually and on behalf of all others
         similarly situated, in the above-referenced matter. I am writing to withdraw the pending motion
         to confirm the arbitration award and enter Judgment confirming that award, in light of the fact
         that Defendant Dish Network has now Defendant has now complied with the award.

                    Thank you.

                                                                                     Respectfully submitted,

                                                                                     /s Jonathan I. Nirenberg
                                                                                     Jonathan I. Nirenberg


         cc:        Christian C. Antkowiak, Esq. (via ECF and electronic mail)
                    Ryan F. Stephan, Esq. (via ECF and electronic mail)
                                                                                         SO ORDERED
                                                                                             s/Claire C. Cecchi                       .
                                                                                         Claire C. Cecchi, U.S.D.J.

                                                                                         Date:   December 23, 2016
